           Case 1:17-cr-00167-JMF Document 78 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      17-CR-167 (JMF)
                                                                       :
ALEXANDER FERNANDEZ,                                                   :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        On July 30, 2020, Defendant filed a motion for compassionate release pursuant to 18

U.S.C. § 3582(c)(1)(A), which — regrettably — did not come to the Court’s attention until now.

See ECF No. 76. Upon review of the motion, the Court concludes that it is appropriate to

appoint counsel for Defendant pursuant to the Criminal Justice Act. Former counsel, Kelly

Sharkey, has graciously agreed to accept appointment. Accordingly, Ms. Sharkey is hereby

appointed as counsel pursuant to the Criminal Justice Act to handle Defendant’s motion (and any

other application relating to COVID-19).

        In light of that appointment, Defendant shall file any supplemental papers by November

20, 2020; the Government shall file any opposition by December 9, 2020; and Defendant shall

file any reply by December 16, 2020.

        SO ORDERED.

Dated: November 6, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
